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                                     DISTRICT JUDGE'S MINUTES
                         IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF ARIZONA – PHOENIX
 U.S. District Judge: Susan M. Brnovich             Date: June 7, 2021
USA v. Lacey et al                                Case Number: CR-18-00422-PHX-SMB
Assistant U.S. Attorneys: Andrew Stone, Peter Kozinets, Margaret Perlmeter, Reginald Jones and
Kevin Rapp
Defendant-1: Michael Lacey, Released – Not Present (Presence waived)
Attorney for Defendant (1): Paul Cambria, Jr. and Erin McCampbell-Paris, Retained
Defendant-2: James Larkin, Released-Present
Attorney for Defendant (2): Thomas Bienert, Jr., and Whitney Bernstein Retained
Defendant-3: Scott Spear, Released-Present
Attorney for Defendant (3): Bruce Feder, Retained
Defendant-4: John Brunst, Released-Present
Attorney for Defendant (4): Gopi Panchapakesan and Gary Lincenberg, Retained
Defendant-6: Andrew Padilla, Released- Not Present (Presence waived)
Attorney for Defendant (6): David Eisenberg, CJA Appointment
Defendant-7: Joye Vaught, Released- Not Present (Presence waived)
Attorney for Defendant (7): Joy Bertrand, CJA Appointment

STATUS HEARING:

All parties present are appearing by video. Discussion held regarding the proposed jury questionnaire
and objections are resolved. Defense counsel for Defendant Larkin requests additional time to review
the changes made on the record in today’s hearing and submit additional questions. No objection.
Request granted. The parties are directed to have the proposed questionnaire to the Court by no later
than close of business on 6/10/2021.

Questions regarding trial procedures discussed. The parties are directed to make arrangements with the
Jury Office to pickup the responses to the questionnaires prior to 7/16/2021 and prepare to discuss
them at the Final Trial Management Conference set for 7/16/2021.

IT IS ORDERED setting an in-person status hearing for 8/13/2021 at 11:00 a.m.



 Court Reporter Christine Coaly                                           SH:      1 hr
 Deputy Clerk Elaine Garcia
                                                                          Start: 4:04 PM
                                                                          Stop: 5:04 PM
